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                           EXHIBIT 4
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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                                                                             #545/555-1 (8/19)
                                       CIVIL MINUTES - GENERAL
    Case No.    ML 15-2668 PSG (JEMx)                                       Date      August 11, 2022
    Title       In re National Football League’s Sunday Ticket Antitrust Litigation




    Present: The Honorable     Philip S. Gutierrez, United States District Judge
                   Wendy Hernandez                                          Not Reported
                      Deputy Clerk                                         Court Reporter
            Attorneys Present for Plaintiff(s):                  Attorneys Present for Defendant(s):
                       Not Present                                           Not Present
    Proceedings (In Chambers):        Order GRANTING Plaintiffs’ motion to take limited discovery
                                      after the deadline for fact discovery.

       Before the Court is Plaintiffs’ motion to take limited discovery after the deadline for fact
discovery. See generally Dkt. # 555-1 (“Mot.”).1 Defendants National Football League, Inc.;
NFL Enterprises LLC; and numerous individual NFL clubs (collectively, “NFL Defendants”)
opposed. See generally Dkt. # 589-1 (“Opp.”). Plaintiffs replied. See generally Dkt. # 596-1
(“Reply”). Non-party Apple Inc. (“Apple”) also filed a statement regarding Plaintiffs’ motion,
see generally Dkt. # 584-1 (“Apple Statement”), as did DirecTV, LLC and DirecTV Holdings
LLC (collectively, “DirecTV”), see generally Dkt. # 586 (“DirecTV Statement”).2 The Court
finds this matter appropriate for decision without oral argument. See Fed. R. Civ. P. 78; L.R. 7-
15. After considering the moving, opposing, and reply papers, the Court GRANTS Plaintiffs’
motion.

      Plaintiffs bring this consolidated putative class action alleging that NFL Defendants and
DirecTV violated the Sherman Act by working together “to eliminate all competition in the
broadcasting and sale of live video presentations of professional football games,” including the
“NFL Sunday Ticket” service. See Consolidated Amended Complaint, Dkt. # 163, ¶¶ 1,



1
 The Court cites the unredacted versions of the parties’ briefs. Plaintiffs’ motion itself is at
Docket Entry Number 545.
2
 Both Apple and DirecTV state that they take no position on the instant motion but that they
provide statements to correct perceived factual inaccuracies contained in Plaintiffs’ moving
papers. See Apple Statement 1:12–17; DirecTV Statement 1:4–7.


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                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
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155–63.3

        In March 2022, the Court modified the scheduling order in this case, continuing, as
relevant here, the fact discovery deadline to August 5, 2022. See generally Dkt. # 434. On July
15, Plaintiffs filed the instant motion seeking to amend the modified scheduling order to allow
Plaintiffs to take discovery involving three specific matters after the fact discovery deadline. See
generally Mot. First, Plaintiffs seek additional time to continue taking discovery related to NFL
Defendants’ ongoing negotiations for the sale of the future rights to NFL Sunday Ticket after
their current contract with DirecTV expires in 2023, as well as limited document and deposition
discovery about the new agreement once a deal is executed, which Plaintiffs say is expected
sometime this fall. Id. 1:16–2:11, 10:16, 14:9; see also Reply 3 n.1.4 Second, Plaintiffs ask for
more time to allow for the adjudication of Apple’s motion to quash a subpoena for documents
involving Apple’s negotiations with NFL Defendants and internal evaluations of any potential
NFL Sunday Ticket deal, which is set for hearing before a court in the Northern District of
California on August 25, and to enforce Plaintiffs’ subpoena against Apple if necessary. Mot.
2:12–20, 14:10–15:26; Reply 6:3–8:10.5 Third, in case the parties cannot resolve their disputes
over privilege logs, Plaintiffs request additional time to file, adjudicate, and enforce potential
motions to compel documents they contend NFL Defendants and DirecTV improperly withheld
as privileged. Mot. 2:21–3:8, 15:27–16:24; Reply 8:11–11:8.

3
 In April 2021, the Court granted DirecTV’s motion to compel arbitration of Plaintiffs’ claims
against DirecTV and stayed further proceedings against DirecTV pending arbitration. See
generally Dkt. # 320.
4
  Plaintiffs filed a motion to compel NFL Defendants to produce additional documents about
these ongoing negotiations. See generally Dkt. # 536. Magistrate Judge McDermott held a
hearing on the motion on August 9 and ordered the parties to meet and confer and file a joint
status report by September 9, 2022. See generally Dkt. # 599.
5
 Shortly before Apple filed its motion to quash Plaintiffs’ subpoena in the Northern District of
California, Plaintiffs filed a motion to compel Apple’s production of documents in this Court.
See generally Dkt. # 486. Judge McDermott denied Plaintiffs’ motion without prejudice
because, pursuant to Federal Rule of Civil Procedure 45, “Plaintiffs will have to enforce their
subpoena in the Northern District or demonstrate exceptional circumstances to that Court to
obtain transfer back to this Court.” See generally Dkt. # 499. Plaintiffs state that they have
asked the Northern District of California to transfer Apple’s motion to this Court. Mot.
15:22–23.

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                              UNITED STATES DISTRICT COURT
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                                     CIVIL MINUTES - GENERAL
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       Under Federal Rule of Civil Procedure 16, scheduling orders may be modified “only for
good cause and with the judge’s consent.” Fed. R. Civ. P. 16(b)(4). “The party seeking to
continue or extend the deadlines bears the burden of proving good cause.” Benchmark Young
Adult Sch., Inc. v. Launchworks Life Servs., LLC, No. 12-cv-2953-BAS(BGS), 2014 WL
3014720, at *2 (S.D. Cal. July 3, 2014) (citing Zivkovic v. S. Cal. Edison Co., 302 F.3d 1080,
1087 (9th Cir. 2002)). The “‘good cause’ standard primarily considers the diligence of the party
seeking the amendment.” See Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 609 (9th
Cir. 1992). “If that party was not diligent, the inquiry should end.” Id. Although prejudice to
the non-moving party might supply additional reasons to deny a motion, “the focus of the inquiry
is upon the moving party’s reasons for seeking modification.” Id.

       Here, having considered the parties’ briefs, as well as the statements by Apple and
DirecTV, the Court finds that Plaintiffs have shown good cause to modify the scheduling order
to enable to them to pursue the additional discovery they seek. The Court is satisfied that
Plaintiffs have diligently sought the categories of discovery at issue here throughout the
discovery period, where possible,6 and attempted to timely resolve these discovery matters
without the need for Court intervention. Additionally, NFL Defendants do not contend that they
will be prejudiced if Plaintiffs’ motion is granted. See generally Opp. As such, the Court
GRANTS Plaintiffs’ motion to take limited discovery after the fact discovery deadline. In
granting Plaintiffs’ motion, the Court does not express any opinion as to the merits of Plaintiffs’
pending motion to compel related to the NFL Sunday Ticket negotiations and deal, Apple’s
pending motion to quash, or any potential motions to compel related to NFL Defendants’ or
DirecTV’s privilege logs. The Court merely extends the time in which Plaintiffs may seek
additional discovery related to these matters and, if relevant, enforce compliance with orders on
such motions.

       For the foregoing reasons, the Court GRANTS Plaintiffs’ motion and modifies the
scheduling order to allow Plaintiffs to pursue additional fact discovery relating to the following
matters after the current August 5, 2022 fact discovery cut-off:




6
 As Plaintiffs assert, they will not be able to conduct discovery involving the new NFL Sunday
Ticket agreement until that deal is finalized, which they expect to occur sometime this fall. See
Mot. 2:3–9, 10:6–9.

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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
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         •       Document production related to NFL Defendants’ ongoing negotiations with third
                 parties for the sale of the future rights to NFL Sunday Ticket, as well as document
                 and deposition discovery about the new NFL Sunday Ticket agreement once such a
                 deal is finalized;

         •       Plaintiffs’ subpoena for documents involving Apple’s negotiations with NFL
                 Defendants and Apple’s internal evaluations of any potential NFL Sunday Ticket
                 agreement, depending on the resolution of Apple’s motion to quash the subpoena;
                 and

         •       If necessary, the filing, adjudication, and potential enforcement of motions for
                 NFL Defendants and/or DirecTV to compel documents that Plaintiffs contend
                 were improperly withheld on privilege grounds.

         IT IS SO ORDERED.




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